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Not for Publication

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                              :
KARIM TAHIR GOLDING,                          :
                                              :            Civil Action No. 18-17175 (ES)
                       Petitioner,            :
                                              :                ORDER TO ANSWER
                       v.                     :
                                              :
JEFF SESSIONS,                                :
                                              :
                       Respondent.            :
                                              :

SALAS, DISTRICT JUDGE

        Petitioner Karim Tahir Golding (“Petitioner”) having filed a Petition for Writ of Habeas

Corpus pursuant to 28 U.S.C. § 2241 (D.E. No. 1, “Petition”); and having submitted the required

filing fee,

        IT IS on this 19th day of February 2019,

        ORDERED that, in accordance with Rule 4 of the Rules Governing Section 2254 Cases,

applicable to § 2241 cases through Rule 1(b), this Court has examined the Petition and determined

that dismissal prior to submission of an answer and the record is not warranted; and it is further

        ORDERED that the Clerk of the Court shall serve copies of the Petition and this Order

upon Respondent and Warden Steven Ahrendt by regular mail, with all costs of service advanced

by the United States; and it is further

        ORDERED that the Clerk of the Court shall forward a copy of the Petition and this Order

to Chief, Civil Division, United States Attorney’s Office, at the following email address: USANJ-

HabeasCases@usdoj.gov; and it is further
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        ORDERED that, within 45 days after the date of entry of this Order, Respondent shall

electronically file a full and complete answer to the Petition, which responds to the factual and

legal allegations of the Petition paragraph by paragraph; and it is further

        ORDERED that the answer shall state the statutory authority for Petitioner’s detention,

see 28 U.S.C. § 2243; and it is further

        ORDERED that Respondent shall raise by way of the answer any appropriate defenses

which Respondent wishes to have the Court consider, including, but not limited to, exhaustion of

administrative remedies, and also including, with respect to the asserted defenses, relevant legal

arguments with citations to appropriate legal authority; and it is further

        ORDERED that Respondent shall electronically file with the answer certified copies of

the administrative record and all other documents relevant to Petitioner’s claims; and it is further

        ORDERED that all exhibits to the Answer must be identified by a descriptive name in the

electronic filing entry, for example:

        “Exhibit #1 Transcript of [type of proceeding] held on XX/XX/XXXX” or

        “Exhibit #2 Opinion entered on XX/XX/XXXX by Judge YYYY”;

and it is further

        ORDERED that Petitioner may file and serve a reply in support of the Petition within 30

days after the answer is filed; and it is further

        ORDERED that, within 7 days after any change in Petitioner’s immigration or

custody status, be it release, a final order of removal, or otherwise, Respondent shall

electronically file a written notice of the same with the Clerk of the Court.


                                                              s/Esther Salas
                                                              Esther Salas, U.S.D.J.
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